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             EXHIBIT J
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                                                  Diana A. Aguilar
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                                                     March 14, 2025
BY EMAIL

Christopher A. Yeager, Esq.
Williams & Connolly LLP
680 Maine Avenue SW
Washington, DC 20024


Dear Mr. Yeager,

We are disappointed in Google’s approach to this matter. Plaintiffs clearly communicated that
Google’s response in its R&Os was unacceptable – not only did Plaintiffs propose a compromise
offer after the meet and confer regarding Google’s R&Os (see February 24, 2025 email from K.
Herrmann to N. Peelish), but when Google declined that offer, Plaintiffs raised the issue in the
March 7, 2025 Joint Status Report. The Court provided clear instructions for Google to confirm
or pull responsive data cards. Expert reports are due today, and Google is refusing to follow this
unambiguous command. Google, instead, now argues that it has met its discovery obligations
because it included an objection as to scope in its R&Os. However, during the hearing, the Court
rejected Google’s scope objection by expressly indicating that Google would need to “pull”
additional documents. Google’s counsel agreed, and at no point indicated that Google would not
endeavor to pull additional final datacards.

We seek to meet and confer either tomorrow or Sunday at 11 AM EST to discuss whether Google
will comply with the Court’s direction.


                                                     Sincerely,

                                                     /s/ Diana A. Aguilar
